                                    United States District Court
                                    Eastern District of Wisconsin



 Rabbi Alexander Milchtein and
 Ester Riva Milchtein,

                                         Plaintiffs,

         v.

 Eloise Anderson, an individual; Milwaukee
 County, a public entity; Arlene Happach, an           Civil Action No. _____________________
 individual; Robin Joseph, an individual;
 Sarah Henery, an individual; Martha
 Stacker, an individual; Lori Wagnitz, an
 individual; Mary Pat Bohn, an individual;
 Crystal Reyes, an individual; Nadine                  PLAINTIFFS' MOTION TO RESTRICT
 Sherman, an individual; Julia Konrardy                DOCUMENTS
 Comey, an individual; Children’s Hospital
 and Health System, Inc., a corporation;
 Sara Waldschmidt, an individual; Jackie
 Voykin Steffes, an individual; Milwaukee
 County Department of Heath and Human
 Services, a public entity; Kelly Pethke, an
 individual; Mark Mertens, an individual;
 Sara Woitel, an individual; Bella’s Group
 Home, LLC., a limited liability company;
 John T. Chisholm, an individual; and Lori
 Kornblum, an individual;

                                       Defendants.

        Plaintiffs Rabbi Alexander Milchtein and Ester Riva Milchtein, move to restrict. In support

of their motion, Plaintiffs state as follows:

        1.       Plaintiffs have filed a Verified Complaint. The subject matter of their Complaint

involves the violation of Plaintiffs’ Civil Rights by Defendants’ conduct in removing three of

Plaintiffs’ children from their home and Defendants subsequent conduct in relation to that removal.

        2.       In order to substantiated their claims, Plaintiffs attached as exhibits to their Complaint




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copies of court transcripts, a MCPS reports, a court orders, a notice, and emails Plaintiffs’ children.

       4.      This Court permits documents to be sealed in certain circumstances:

       The general rule is that the record of a judicial proceeding is public. Not only do such
       records often concern issues in which the public has an interest . . . but also the public
       cannot monitor judicial performance adequately if the records of judicial proceedings
       are secret. These considerations, however, support a strong presumption rather than
       an absolute rule. When there is a compelling interest in secrecy, as in the case of
       trade secrets, the identity of informers, and the privacy of children, portions and in
       extreme cases the entirety of a trial record can be sealed. The interest in secrecy is
       weighed against the competing interests case by case.

Jessup v. Luther, 277 F.3d 926, 927-28 (7th Cir. 2002) (internal citations omitted). “In civil

litigation only trade secrets, information covered by a recognized privilege (such as the attorney-

client privilege), and information required by statute to be maintained in confidence (such as the

name of a minor victim of a sexual assault), is entitled to be kept secret.” Baxter Int'l, Inc. v.

Abbott Laboratories, 297 F.3d 544, 546 (7th Cir. 2002).

       5.      The exhibits Plaintiffs seek to file under seal are excerpted transcripts of court

proceedings, a court order, and emails that directly involve and discuss two of their children, as

well as a Bureau report that discusses all of their children. Allowing these documents to be

public record would undermine the privacy of these children, who, with the exception of the two

oldest, were minors at the time these documents were created.

       6.      Additionally, under Wisconsin law, “any person who divulges any information

which would identify the child, the expectant mother or the family involved in any proceeding

under [chapter 48] shall be subject to ch. 785 [a contempt of court statute].” Wis. Stat. Ann.

§ 48.299. Proceedings involving child protection are authorized under Chapter 48, entitled

“Children’s Code.” Wis. Stat. Ann. § 48.13.


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       7.      The transcript excerpts, emails, court orders, and MCPS reports divulge

information about Plaintiffs’ children relating to Chapter 48 proceedings in a Wisconsin court.

So such information is required to remain in confidence under Wisconsin law.




       WHEREFORE, Plaintiffs pray this Court grant Plaintiffs’ Motion to Restrict

Documents.



Dated: December 15, 2019                             Respectfully submitted,
                                                      /s/ Corrine L. Youngs
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